                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTE RN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION

  UNITED STATES OF AMERICA,                   )
                                              )
                                              )      Case No. 4:18-cr-00012
                                              )
  v.                                          )
                                              )
  DE SHAWN ANTHONY, et al.,                   )
                                              )      By:     Michael F. Urbanski
         Defendants.                          )              United States District Judge

                                             ORDER

         This matter comes before the court on the government's "Emergency Motion for

  Discovery Limitations for Witness Safety." ECF No. 202. The government seeks an order

  (1) limiting the disclosure of witness names and identifying information outside of the

  defense teams, and (2) prohibiting counsel from leaving discovery material at detention

  facilities or providing copies to anyone outside the defense team.

         The government's flrst request is overbroad and unworkable. It is overbroad in two

  respects. First, the proposal concerns all witnesses rather than confidential informants or

  others as to whom there may be evidence of some danger. Second, the government seeks to

  apply this restriction to all defendants in the case without any particularized showing that

  they have engaged in any sort of witness tampering or obstructive behavior. The court is not

  aware of case law supporting such a sweeping restriction on defense investigative efforts

  without a more particularized evidentiary foundation.

         The court appreciates the danger the government seeks to address. However, the

  remedy sought by the government goes too far and would operate to preclude defense




Case 4:18-cr-00012-MFU-RSB Document 213 Filed 12/11/18 Page 1 of 3 Pageid#: 729
  counsel and its investigators from engaging in legitimate discovery and investigation. As

  such, the court is willing to consider a more narrowly tailored protective order provided it is

  reasonably limited in scope, supported by evidence, and entered following a hearing. For

  example, if the government has concerns about specific witnesses or specific defendants, it

  should seek an appropriate protective order.

         With respect to the government's second request, there has been no showing of any

  problems with or violations of the procedures set forth in the June 11, 2018 order allowing

  counsel to leave discovery material at the jails in a secure location. Absent some showing

  that there has been a violation of these protocols, the government's request that defendants'

  not have secure access to the discovery materials at local jails is not well taken.

         Accordingly, the government's motion, as framed, is DENIED.             evertheless, the

  government may ftle a more narrowly tailored and appropriately supported motion for a

  protective order on or before December 12, 2018.

         In balancing the interests of the safety of witnesses and the rights of defendants to

  investigate this case, the court temporarily extends the Oral Order of December 4, 2018 until

  December 12, 2018. The December 4, 2018 Oral Order stated:

                 Until further Order of the court, it is ORDERED that
                 defendants, their counsel, and other members of the defense
                 team may not share information regarding the identity of
                 witnesses contained in Production 5 with any person outside the
                 defense team, defined to include the defendant, defense
                 counsel, investigators, paralegals, and support staff. Also, until
                 further Order of the court, the court Orders defense counsel
                 not to leave Production 5 at the local jails.




Case 4:18-cr-00012-MFU-RSB Document 213 Filed 12/11/18 Page 2 of 3 Pageid#: 730
         If no additional motion is filed by the government by December 12, 2018, the

  December 4, 2018 Oral Order will be lifted by further Order of the court.

         It is so ORDERED.

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Case 4:18-cr-00012-MFU-RSB Document 213 Filed 12/11/18 Page 3 of 3 Pageid#: 731
